Case 1:Ol-cV-02094-RCL Document 574 Filed 11/30/17 Page 1 of 1

UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF COLUMBIA

DEBORAH D. PETERSON, Personal
Representative of the Estate of J ames C.
Knipple (Dec.), et al.

Plaintiffs : Consolidated Civil Actions:
1:01-cv-02094 RCL
vs. : l:O l -cv-02684~RCL
ISLAMIC REPUBLIC, et al.

Defendants

NOTICE OF WITHDRAWAL OF APPEARANCE AS COUNSEL

Please take notice that Annie Pennock Kaplan, Esquire hereby respectfully Withdraws her
appearance as Special Master in this case; and respectfully requests to be removed from the Court’s
mailing list and CM/ECF notifications.

Novernber 30, 2017 Respectfully/spbmitted,

Aj@iejpééno€k Kaplan #466932
1740 N Street, NW - Suite One
Washington, DC 20036

Telephone: (301) 602-6624

Facsirnile: (202) 33 1-93 06
annie.kaplan@,qlnail.conl

 

